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                     IN THE UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF ALABAMA
                              NORTHERN DIVISION

UNITED STATES OF AMERICA                         )
                                                 )
       v.                                        )      CASE NO. 2:07cr70-WHA
                                                 )
DEMETRIA MURPHY                                  )


  REPORT AND RECOMMENDATION OF THE MAGISTRATE JUDGE

       This cause is before the Court on the Motion to Suppress Evidence and Statements

filed by Defendant Demetria Murphy (“Murphy”). See Doc. 31, filed June 5, 2007. The

Court held a hearing on the motion on June 13, 2007. For the reasons discussed below, the

Magistrate Judge recommends that the District Court deny the motion to suppress.

            I. FACTUAL BACKGROUND AND MOTION TO SUPPRESS

       On December 21, 2005, Murphy was driving a 2000 Ford Explorer SUV southbound

on Interstate 65 near mile marker 165 in Hope Hull, Alabama when mechanical problems

forced her to pull off the roadway. Soon thereafter, Trooper Shawn Loughridge saw the car

while he was on routine patrol. Trooper Loughridge pulled over to assist what he thought

were motorists in distress. The occupants of the car told Trooper Loughridge they ran out

of gas, and they just recently put gasoline in the SUV but it still would not start. Trooper

Loughridge suggested the fuel shut off switch in the rear cargo area might account for the

mechanical problem. Murphy chose to open the rear cargo door of the Explorer to check the

fuel shut off switch. When Murphy opened the rear cargo door, Trooper Loughridge saw,


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in plain view, the butts of two shotguns. Trooper Loughridge, for his own safety, pulled the

weapons from underneath other items strewn across the cargo area and saw one of the

shotguns had a short barrel. Further, military ballistic body armor was underneath both

shotguns. Trooper Loughridge immediately arrested the defendants. In light of the short

barreled rifle, Bureau of Alcohol, Tobacco, Firearms and Explosives (“ATF”) sent two

agents to investigate. ATF Agents Timothy Fitzpatrick and Dwight Brown discovered

Murphy is a felon whose rights to possess a firearm were taken and the unregistered shotgun

was indeed shorter than the law permits without registration. ATF Agents Fitzpatrick and

Brown gave Murphy her Miranda warnings. Murphy acknowledged verbally and in writing

she understood her rights against self incrimination. Thereafter, Murphy made several

incriminating statements in response to police questions about the firearms.

       On April 4, 2007, the Grand Jury for the Middle District of Alabama returned a two

count indictment against defendant, Demetria Murphy (“Murphy”). See Doc. 1. Count 1

alleges Murphy is a felon who thereafter possessed two firearms in violation of federal law.

Count 2 alleges one of the firearms possessed by Murphy was a short barreled shotgun or,

in the vernacular, a sawed off shotgun not registered under federal law. Murphy argues the

discovery of the firearms and her incriminating statements thereafter to law enforcement

violate her rights under the Fourth and Fifth Amendments sufficiently to bar the admission

of the firearms and her statement.

                                II. ISSUES PRESENTED

       The admissibility of the firearms and the statements against Murphy hinges upon the

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answers to two questions: (1) Did the discovery of the firearms violate the Fourth

Amendment? (2) Do the statements made by Murphy after Trooper Loughridge saw the

firearms contravene the Fifth Amendment? The facts and law clearly demonstrates the

answer to each question is, no.

                           III. DISCUSSION AND ANALYSIS

A.     FOURTH AMENDMENT CLAIMS

       Murphy argues the firearms were found after Trooper Loughridge conducted an

impermissible search under the Fourth Amendment, without probable cause, and without a

warrant. Further Murphy argues, when Loughridge refused to leave when requested, the

situation turned into a traffic stop. See, e.g., Terry v. Ohio, 392 U.S. 1, 88 S.Ct. 1868, 20

L.Ed.2d 889 (1968).

       The Court finds the actions of Trooper Loughridge do not constitute a search which

implicates the Fourth Amendment.         Trooper Loughridge merely assisted a motorist,

Defendant Murphy, to find the cause of her mechanical problems. In the normal course of

assistance to a stranded motorist, the contraband became visible to Trooper Loughridge.

Contraband in plain view falls outside the protection of the Fourth Amendment.“Under [the

plain view] doctrine, if police are lawfully in a position from which they view an object, if

its incriminating character is immediately apparent, and if the officers have a lawful right of

access to the object, they may seize it without a warrant.” Minnesota v. Dickerson, 508 U.S.

366, 375, 113 S.Ct. 2130, 2137, 124 L.Ed.2d 334 (1993) (citations omitted). “The rationale

of the plain-view doctrine is that if contraband is left in open view and is observed by a

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police officer from a lawful vantage point, there has been no invasion of a legitimate

expectation of privacy and thus no ‘search’ within the meaning of the Fourth Amendment--or

at least no search independent of the initial intrusion that gave the officers their vantage

point.” Id. The plain view exception to the Fourth Amendment applies so long as officers

do not violate the Fourth Amendment to arrive at their vantage point to see the evidence.

Horton v. California, 496 U.S. 128, 136, 110 S.Ct. 2301, 2308, 110 L.Ed.2d 112 (1990); see

also United States v. Bishop, 338 F.3d 623, 626 (6th Cir. 2003) (citing Horton). Trooper

Loughridge did no more than act as a good Samaritan along the public roadway and

happened to see two shotguns in plain view. Defendant Murphy voluntarily exposed the

firearms to Trooper Loughridge when she opened the cargo door of the Ford Explorer. See,

e.g. United States v. Santiago, 410 F.3d 193, 201 (5th Cir. 2005) (Defendant gave deputies

consent to enter home and firearm was seen in plain view...though the court did not get the

sense from the record that deputies entered the home operating under the belief they would

discovery a cache of weapons, the court has not asked law enforcement to ignore the

significance of items observed in plain view); see also Texas v. Brown, 460 U.S. 730, 740,

103 S.Ct. 1535, 75 L.Ed.2d 502 (1983) ( “The general public could peer into the interior of

[defendant’s] automobile from any number of angles; there is no reason [the officer] should

be precluded from observing as an officer what would be entirely visible to him as a private

citizen. There is no legitimate expectation of privacy shielding that portion of the interior of

an automobile which may be viewed from outside the vehicle by either inquisitive passersby

or diligent police officers.”) (citations omitted).

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      Further, none of the passengers had a valid pistol permit. It is a violation of Alabama

law to transport a firearm in a car without license therefore Trooper Loughridge had the

authority to seize the firearms without more as evidence of a crime. See Ala. Code § 13A-

11-73. The Fourth Amendment provides”[t]he right of the people to be secure in their

persons, houses, papers, and effects, against unreasonable searches an seizures, shall not be

violated.” None of the concerns behind the Fourth Amendment are present in the facts.

Trooper Loughridge took reasonable steps to assist motorists in distress. But for Defendant

Murphy voluntarily opening a door which set contraband in plain view, the evidence would

not have been found by Trooper Loughridge. As such, the Court concludes no “search” took

place and therefore, there is no violation of the Fourth Amendment.

B.     CONSENT

       Fourth Amendment protections fall away to the extent a person voluntarily consents

to a search. Schneckloth v. Bustamonte, 412 U.S. 218, 219, 93 S.Ct. 2041, 2043-44, 36

L.Ed.2d 854 (1973) (citing Davis v. United States, 328 U.S. 582, 593-94, 66 S.Ct. 1256,

1261-62, 90 L.Ed. 1453 (1946) and Zap v. United States, 328 U.S. 624, 630, 66 S.Ct. 1277,

1280, 90 L.Ed. 1477 (1946)). In her suppression motion, Murphy alleges she gave Trooper

Loughridge consent to search for the fuel shut off switch but he exceeded the scope of the

search. The admission that Trooper Loughridge had consent to look in the cargo area

coincides with my finding, as a matter of fact, that Murphy voluntarily exposed the

contraband to the plain view of Trooper Loughridge when she opened the rear cargo door of

the SUV so he could find the cause of her mechanical troubles. Taking Murphy’s version

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of facts as true, Trooper Loughridge was indeed well within the scope of the consent given

by Murphy to examine the cargo compartment in an effort to locate the fuel shut off switch.

No facts which the court finds persuasive indicate Trooper Loughridge looked in any place

where it would be illogical or unlikely to find a fuel shut off switch. The court further finds

the contraband was in plain view after Murphy voluntarily gave consent for Trooper

Loughridge to look in the SUV to for the fuel shut off switch.

C.      FIFTH AMENDMENT CLAIMS

        Murphy alleges various incriminating statements she made after Trooper Loughridge

found the firearms were taken in contravention of the Fifth Amendment. Defendant Murphy

acknowledges the alleged Fifth Amendment violations are completely dependent upon her

Fourth Amendment claims as she asserts her statements are the fruit of the illegal search and

seizure. Murphy argues any evidence obtained as a result of the illegal search and seizure

was “fruit of the poisonous tree,” and therefore should be suppressed. See, e.g. United States

v. Chanthasouxat, 342 F.3d 1271, 1280 (citing Wong Sun v. United States, 371 U.S. 471,

484-85, 83 S.Ct. 407, 416, 9 L.Ed.2d 441 (1963)) (stating the general rule that evidence

gathered as a result of an unconstitutional stop must be suppressed). The Court finds the

items were in plain view, thus, no search took place. Even if there was a search, Murphy

consented to such search when she opened the rear cargo door of the Ford Explorer to let

Trooper Loughridge find the fuel shut off valve. As a result, the “fruit of the poisonous tree”

concept does not apply and all statements by Murphy should therefore be fully admissible

at trial.

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       Furthermore, no other Fifth Amendment rights have been implicated. The Fifth

Amendment provides that “[n]o person... shall be compelled in any criminal case to be a

witness against himself.” Custodial police interrogations trigger Fifth Amendment concerns.

New York v. Quarles, 467 U.S. 649, 654, 104 S.Ct. 2626, 2630, 81 L.Ed.2d 550 (1984).

Trooper Loughridge took Murphy into custody immediately after Trooper Loughridge saw

the firearms. Post-arrest, Trooper Loughridge had duty to tell Murphy about her rights

against self incrimination and to the assistance of counsel. Miranda v. Arizona , 384 U.S.

436, 467-68, 86 S.Ct. 1602, 1624-25, 16 L.Ed.2d 694 (1966). Trooper Loughridge gave

Murphy her Miranda warnings and obtained an oral waiver of Miranda rights. See id. Fifth

Amendment rights are personal rights which may be set aside if a person waives their rights.

No threats, force, inducements or any other impermissible acts made Murphy waive her Fifth

Amendment claims. The statements, from a constitutional perspective, should therefore be

fully admissible at trial.

                                    IV. CONCLUSION

       Accordingly, it is the RECOMMENDATION of the Magistrate Judge that the Motion

to Suppress Evidence and Statements (Doc. 31) filed by Defendant Murphy be DENIED.

       It is further ORDERED that the parties are DIRECTED to file any objections to the

said Recommendation not later than June 28, 2007. Any objections filed must specifically

identify the findings in the Magistrate Judge's Recommendation objected to. Frivolous,

conclusive or general objections will not be considered by the District Court. The parties are

advised that this Recommendation is not a final order of the court and, therefore, it is not

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appealable.

       Failure to file written objections to the proposed findings and recommendations in the

Magistrate Judge's report shall bar the party from a de novo determination by the District

Court of issues covered in the report and shall bar the party from attacking on appeal factual

findings in the report accepted or adopted by the District Court except upon grounds of plain

error or manifest injustice. Nettles v. Wainwright, 677 F.2d 404 (5th Cir. 1982); see Stein

v. Reynolds Securities, Inc., 667 F.2d 33 (11th Cir. 1982); see also Bonner v. City of

Prichard, 661 F.2d 1206 (11th Cir. 1981, en banc) (adopting as binding precedent all of the

decisions of the former Fifth Circuit handed down prior to the close of business on

September 30, 1981).

       DONE this 15th day of June, 2007.


                                           /s/Terry F. Moorer
                                           TERRY F. MOORER
                                           UNITED STATES MAGISTRATE JUDGE




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